






NO. 07-04-0585-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



SEPTEMBER 29, 2005


______________________________



WAYNETTA DEMETRIS ROBERSON, 



									Appellant


v.



THE STATE OF TEXAS, 



									Appellee

_________________________________



FROM THE 31ST DISTRICT COURT OF WHEELER COUNTY;



NO. 3857; HON. STEVEN R. EMMERT, PRESIDING


_______________________________



Memorandum Opinion


_______________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

	Waynetta Demetris Roberson (appellant) appeals her conviction for possessing a
controlled substance, namely, cocaine.  Through two issues, she contends 1) that the
trial court erred in overruling her motion to suppress and 2) the evidence was both
legally and factually insufficient to support her conviction. (1)  We affirm.

Issue One - Suppression of the Evidence


	In her first issue, appellant contends that the trial court erred by failing to grant her
motion to suppress.  In it, appellant claimed that the officer lacked probable cause to
search the car and exceeded the scope of appellant's consent to search the trunk by
searching under the car hood.  Therefore, any evidence discovered from that illegal search
should be suppressed, she concludes.  We overrule the issue.

	At trial, when the State offered the cocaine into evidence, defense counsel
responded with "[w]e have no objection to the admission."  Because appellant affirmatively
stated, through counsel, that she had no objection, she waived any complaint she had to
the admission into evidence of the controlled substance.  Moraguez v. State, 701 S.W.2d
902, 904 (Tex. Crim. App. 1998); Flores v. State, 129 S.W.3d 169, 171-72 (Tex.
App.-Corpus Christi 2004, no pet.); Graham v. State, 96 S.W.3d 658, 659-60 (Tex.
App.-Texarkana 2003, pet. ref'd).

Issue Two - Insufficiency of the Evidence


	Next, appellant contends the evidence was legally and factually insufficient to
support her conviction for possession.  This is so, according to appellant, because the State
failed to show the necessary affirmative links between her and the cocaine.  We overrule
the issue.

	The applicable standards of review are well settled and found in Jackson v. Virginia,
443 U.S. 307, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979), Sims v. State, 99 S.W.3d 600 (Tex.
Crim. App. 2003), Zuliani v. State, 97 S.W.3d 589 (Tex. Crim. App. 2003), and King v.
State, 29 S.W.3d 556 (Tex. Crim. App. 2000).  We refer the litigants to those cases for
review.  

	Next, one may not be convicted of possessing a controlled substance, as a principal
actor, unless he 1) exercised actual care, control, or custody of it, 2) was conscious of his
connection with it and 3) knew what it was.  Brown v. State, 911 S.W.2d 744, 747 (Tex.
Crim. App.1995); see Tex. Health &amp; Safety Code Ann. §§ 481.102(3)(D), 481.115(a)
(Vernon 2003).  Furthermore, the courts have divined numerous factors useful in
determining whether the accused's link to the contraband was more than mere fortuity. 
Though not an exclusive list, they include such things as whether 1) the accused was
present when the search was conducted, 2) the contraband was plainly visible to those
present, 3) the drugs were near the defendant, 4) the defendant was under the influence
of the substance found, 5) the defendant possessed other contraband or drug
paraphernalia when arrested, 6) the defendant made any incriminating statements, 7) the
defendant attempted to flee, 8) the defendant made furtive gestures, 9) the contraband
emitted a recognizable odor at the time, 10) other contraband or drug paraphernalia was
present, 11) the defendant had the right to exclusive or joint possession of the locale at
which the drugs were found, 12) the place where the drugs were found was enclosed, 13)
the accused attempted to conceal the contraband, and 14) the accused was familiar with
the type of contraband involved.  Kyte v. State, 944 S.W.2d 29, 31 (Tex. App.-Texarkana
1997, no pet.); Hurtado v. State, 881 S.W.2d 738, 743 n.1 (Tex. App.-Houston [1st Dist.]
1994, no pet.).  Of note is that the number of factors present is not as important as the
degree to which they tend to affirmatively link the defendant to the contraband.  Wallace
v. State, 932 S.W.2d 519, 524 (Tex. App.-Tyler 1995, pet. ref'd).  In other words, if
evidence satisfying less than all of the aforementioned indicia is produced, conviction may
still be permitted if it nonetheless illustrates, beyond reasonable doubt, appellant's knowing
link to the drugs. 

	Here, the cocaine was found within the air filter housing adjacent to the vehicle's
motor.  The actual air filter had been removed and placed in the trunk.  Additionally,
appellant was in sole possession of the rental car at the time, though a three or four-month-old infant was also present.  Appellant represented to the officer that the child was hers,
but, this was later determined to be a falsehood.  According to the officer, those involved
in drug trafficking often use the presence of a child as a guise to secret what is actually
occurring.  So too did appellant inform the arresting officer that she was traveling from
Texas to Oklahoma.  Yet, when asked from where in Texas she had journeyed, she did not
remember or say.  Nor did her stories about whom she had visited in Texas comport with
each other.  At one time she indicated she had visited a friend.  At another, she indicated
that she had visited her husband.  Moreover, she had no luggage and emanated a body
odor indicative of someone who had not bathed in a while.  The interior of the vehicle also
appeared as if it had been lived in.  

	Additionally, her actions were those of a nervous person.  For instance, she once
attempted to start the car while it was already running.  So too did she appear to be
avoiding direct eye contact with the officer.  And, when asked to exit the car after the officer
searched its trunk, she cursed in a manner indicating that "she had been caught at
something."  Appellant also appeared "terrified" when the officer decided to look under the
hood of the vehicle and in the air filter housing wherein lay the contraband.  A response to
questioning by the officer about the item's identity further provided evidence that she was
aware of its presence.  That is, when asked if she knew what it was, appellant answered
that she did not know "'exactly.'"    

	Inspection of the vehicle's ashtray also uncovered marijuana residue.  And,
according to the officer, he believed she had been "smoking some weed."  Finally, and
most telling, appellant absconded once her trial began.  It continued in her absence, and
she was captured several years later.       

	The foregoing recitation evinces that more than some evidence appeared of record
permitting a rational jury to conclude, beyond reasonable doubt, that appellant knew of and
exercised care, custody and control over the cocaine.  And, that not all the affirmative links
were established does not require us to hold that the verdict was clearly wrong or unjust. 
Those links that were shown to exist were more than enough to render the verdict both
legally and factually sufficient.

	Accordingly, we affirm the judgment of the trial court.


							Brian Quinn

						           Chief Justice



Do not publish.


	 
1. The State, in its brief, re-urges the court to dismiss appellant's appeal due to the fact she escaped
prior to the end of trial and remained a fugitive for approximately three years.  We addressed this issue in our
opinion dated September 7, 2005.  We, again, deny the motion for the reasons stated in our prior opinion.



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